                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                                     :
DONOVAN REALTY, LLC, DD&A TILDEN                     :
REALTY, LLC, ZERTECK, INC., TILDEN                   :
RECREATIONAL VEHICLES, INC., and                     :
DERWOOD LITTLEFIELD,                                 :
                                                     :
                        Plaintiffs-Counterclaim      :
                        Defendants,                  :
                                                     :
                                                       CIVIL ACTION NO.
                 v.                                  :
                                                       20-CV-03954-PBT
                                                     :
CAMPERS INN HOLDING CORPORATION, CI                  :
OF HAMBURG, LLC, and CI OF WEST                      :
COXSACKIE, LLC,                                      :
,                                                    :
                                                     :
                        Defendants-Counterclaim      :
                        Plaintiffs.


   NONPARTIES MARCUS LEMONIS, BRENT MOODY, AND JOSH ERICKSON’S
   MOTION TO QUASH DEFENDANTS’ SUBPOENAS OR, IN THE ALTERNATIVE,
                     FOR A PROTECTIVE ORDER

          Nonparties Marcus Lemonis, Brent Moody, and Josh Erickson move under Rule 45 of the

Federal Rules of Civil Procedure to quash the subpoenas issued to them in Donovan Realty, LLC,

et al. v. Campers Inn Holding Corp., et al., E.D. Pa., Case No. 2:20-cv-03954-PBT. The

subpoenas are attached as Exhibits A-C. In the alternative, Movants request that the Court enter

a protective order under Rule 26(c). The grounds for Movants’ alternative motions are set forth

in the accompanying Memorandum of Law and Movants incorporate the Memorandum by

reference.




DM1\12356136.1
                            DUANE MORRIS LLP


                            /s/ James H. Steigerwald
                            James H. Steigerwald (82469)
                            Simeon S. Poles (324895)
                            30 South 17th Street
                            Philadelphia, PA 19103-4196
                            Telephone: +1 215 979 1000
                            Fax: +1 215 979 1020

                            Attorneys for Movants

Dated: September 15, 2021




                              2
DM1\12356136.1
                                  CERTIFICATE OF SERVICE


          I, James H. Steigerwald, hereby certify that on September 15, 2021, I caused a true and

correct copy of the foregoing Nonparties Marcus Lemonis, Brent Moody, and Josh Erickson’s

Motion to Quash Defendants’ Subpoenas or, in the Alternative, for a Protective Order to be

served on counsel for all parties via this Court’s electronic filing system.


                                                      /s/ James H. Steigerwald
                                                      James H. Steigerwald




                                                  3
DM1\12356136.1
                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                           :
DONOVAN REALTY, LLC, DD&A TILDEN           :
REALTY, LLC, ZERTECK, INC., TILDEN         :
RECREATIONAL VEHICLES, INC., and           :
DERWOOD LITTLEFIELD,                       :
                                           :
                 Plaintiffs-Counterclaim   :
                 Defendants,               :
                                           :
                                             CIVIL ACTION NO.
          v.                               :
                                             20-CV-03954-PBT
                                           :
CAMPERS INN HOLDING CORPORATION, CI        :
OF HAMBURG, LLC, and CI OF WEST            :
COXSACKIE, LLC,                            :
                                           :
                                           :
                 Defendants-Counterclaim   :
                 Plaintiffs.


    MEMORANDUM OF LAW IN SUPPORT OF MOTION BY NONPARTIES
  TO QUASH DEFENDANTS’ SUBPOENAS OR, IN THE ALTERNATIVE, FOR A
                      PROTECTIVE ORDER
                                                TABLE OF CONTENTS

                                                                                                                                       Page

I.     INTRODUCTION ...............................................................................................................1

II.    FACTS AND BACKGROUND ..........................................................................................3

       A.         Defendants’ Failed Transaction with Sellers .......................................................... 3

       B.         Sellers Convey the Properties to Camping World .................................................. 3

       C.         The Litigation Between Sellers and Campers Inn .................................................. 5

       D.         Campers Inn Tries Repeatedly to Drag Camping World into Litigation. ............... 5

       E.         The Subpoenas Issued to Movants .......................................................................... 6

III.   GOVERNING STANDARDS .............................................................................................7

IV.    ARGUMENT .......................................................................................................................8

       A.         This Court Should Quash the Subpoena to Mr. Lemonis Under the “Apex
                  Doctrine.” ................................................................................................................ 8

       B.         This Court Should Quash All Three Subpoenas as Unduly Burdensome to
                  the Deponents........................................................................................................ 12

       C.         The Subpoenas Should be Quashed Because they Improperly Seek
                  Privileged Documents ........................................................................................... 17

       D.         Alternatively, the Court Should Grant a Protective Order That Limits the
                  Scope of Discovery. .............................................................................................. 18

V.     RELIEF ..............................................................................................................................20




                                                                    i
                                                 TABLE OF AUTHORITIES

Federal Cases

Frank v. Honeywell Int’l Inc., 2015 WL 4770965 (E.D. Pa. Aug. 13, 2015) ............................8, 12

Garden City Employees’ Ret. Sys. v. Psychiatric Sols., Inc., 2014 WL 272088
   (E.D. Pa. Jan. 24, 2014) (Sanchez, J.)........................................................................................7

George v. Penn. Tpk. Comm’n, 2020 WL 2745724 (M.D. Pa. May 27, 2020) ....................... 10-11

Kelley v. Enhanced Recovery Co., LLC, 2016 WL 8673055 (D.N.J. Oct. 7, 2016) ........ 7-8, 12, 17

Lady Liberty Transp. Co. v. Philadelphia Parking Auth., 2007 WL 707372 (E.D.
   Pa. Mar. 1, 2007)................................................................................................................13, 15

In re Mushroom Direct Purchaser Antitrust Litig., 2012 WL 298480 (E.D. Pa.
    Jan. 31, 2012) ...........................................................................................................................19

Nedler v. Vaisberg, 2006 WL 2460892 (E.D. Pa. Aug. 22, 2006) ................................................17

Nothstein v. USA Cycling, 337 F.R.D. 375 (E.D. Pa. 2020) .................................................... 18-19

Nupson v. Schnader Harrison Segal & Lewis LLP, 2021 WL 1293557 (E.D. Pa.
   Apr. 7, 2021) ............................................................................................................................17

Pearson v. Miller, 211 F.3d 57 (3d Cir. 2000) ........................................................................ 18-19

Reif v. CNA, 248 F.R.D. 448 (E.D. Pa. 2008) (Sanchez, J.) ......................................................9, 12

Serrano v. Chesapeake Appalachia, LLC, 298 F.R.D. 271 (W.D. Pa. 2014) ..........................17, 19

United States ex rel. Galmines v. Novartis Pharms. Corp., 2015 WL 4973626
   (E.D. Pa. Aug. 20, 2015) ................................................................................................9, 12, 17

State Cases

Bousamra v. Excela Health, 210 A.3d 967 (Pa. 2019) ............................................................17, 19

Rules

Fed. R. Civ. P. 26 ...........................................................................................................................18

Fed. R. Civ. P. 26(b)(1)..............................................................................................................7, 19

Fed. R. Civ. P. 26(b)(2)(C) ..............................................................................................................7

Fed. R. Civ. P. 26(b)(3)..................................................................................................................17



                                                                      ii
Fed. R. Civ. P. 26(c) ......................................................................................................................19

Fed. R. Civ. P. 45 .......................................................................................................................7, 12




                                                                     iii
       Marcus Lemonis, Brent Moody, and Josh Erickson (“Movants”) respectfully submit this

Memorandum of Law in support of their Motion to Quash the Nonparty Subpoena Duces Tecum

issued to them by Defendants, Campers Inn Holding Corporation, CI of Hamburg, LLC, and CI

of West Coxsackie, LLC (collectively, “Campers Inn” or “Defendants”) or, in the alternative, for

a protective order to be entered in this matter.

I.     INTRODUCTION

       The Court should quash the subpoenas issued to Movants, three high-level executives of

non-party Camping World Holdings Inc. (“Camping World”), because they demand the

production of documents unrelated to any matter at issue in this litigation as well as the

testimony of witnesses—including of Camping World’s Chairman and CEO—that is either

entirely unnecessary or inappropriate at this time.

       This case arises from a failed transaction between Defendants and the Seller/Plaintiffs for

the sale of certain RV dealerships and real estate in Hamburg, PA and West Coxsackie, NY.

Although the parties dispute the reason that transaction did not close, both parties agree that

Campers Inn was not able to fund the transaction on the deadline set for closing in the parties’

agreements. Grasping at straws, Campers Inn claims in this litigation that the deadline was

extended for various reasons or should not be enforced. Accordingly, the key matters at issue in

this litigation are the interpretation of the agreement between Plaintiffs and Defendants, and

whether Campers Inn fulfilled its obligations under that agreement.

       After the deal between Plaintiffs and Defendants fell through, Plaintiffs sold the

properties and assets to affiliates of Camping World. Campers Inn now seeks the depositions of

Movants, who include Camping World’s Chairman and CEO, as well as documents about all

aspects of the transaction between Camping World and Plaintiffs, as well as all communications

between Plaintiffs and Camping World about this litigation. But that discovery has no relation to
whether the Defendants were prepared to timely close their deal with Plaintiff or whether they

fulfilled the requirements to extend the closing deadline. Instead, the document requests are a

transparent attempt to expand this matter into a litigation about litigation and impose

unnecessary cost and expense on both Movants and Camping World.

       Campers Inn issued these subpoenas following numerous events that illustrate why the

subpoenas and the document requests they include are inappropriate and intended merely to

harass and burden a third party. First, nearly seven months ago, this Court denied Campers Inn’s

motion to unnecessarily expand the scope of this action by joining Camping World as a third-

party defendant. After that motion failed, Campers Inn filed two additional lawsuits against

Camping World, one of which remains pending before Judge Leon Tucker in the Philadelphia

Court of Common Pleas. Finally, the overly broad requests for the production of documents,

which do not relate to the matters at issue in this litigation come on the heels of Camping World

already producing numerous documents on an expedited basis in response to a document

subpoena issued last fall in connection with Campers Inn’s now-moot motion for a preliminary

injunction. Through the subpoenas, Defendants seek to further harass Camping World and

accomplish an “end run” in this Court around discovery in the Court of Common Pleas.

Defendants should not be permitted to use this Court to further their claims against Camping

World in a different venue.

       In light of these circumstances, the Court should quash Defendants’ attempt to depose

Camping World’s executives both as unduly burdensome and harassing and under the apex

doctrine, which prevents the deposition of high-level executives where the information sought

may be discovered from lower-level employees and through less burdensome means.




                                                 2
Alternatively, the Court should issue a protective order that limits the scope of the subpoenas to

matters truly necessary and appropriate for the adjudication of this action.

II.     FACTS AND BACKGROUND

        A.     Defendants’ Failed Transaction with Sellers

        On February 4, 2020, Sellers entered into a pair of agreements with Campers Inn: (1) an

Asset Purchase Agreement (“APA”) and (2) an Agreement for the Purchase and Sale of Real

Estate and Related Property (“RPA”). (Pls.’ Mot. for J. on the Pleadings (“MJOP”) ¶ 1, ECF 15,

attached as Exhibit D.) The RPA provided that the sale of the real estate assets was to close “on

or before April 15, 2020, time being of the essence.” (Id. ¶ 2) (emphasis in original.) Despite all

conditions precedent to Campers Inn’s performance being satisfied, the RPA did not close by the

April 15 deadline, (Id. ¶ 7), and Sellers exercised their rights to terminate the RPA two days later

(Id. ¶ 8.)

        A week after Sellers terminated the RPA, the parties entered the First Addendum to the

Transaction Documents, through which they agreed to extend the real estate closing deadline

until July 31, 2020. (Id. ¶ 9.) When the deadline arrived, Campers Inn was not prepared to close

because it could not tender the purchase price for the properties. (Id. ¶¶ 17-18.) Because

Campers Inn undisputedly failed to close by the deadline, Sellers took the position that the APA

and the RPA had terminated and had no further effect. (Id. ¶ 21.)

        B.     Sellers Convey the Properties to Camping World

        On August 1, 2020, Sellers received an inquiry about the status of its deal with Campers

Inn from Aaron Young of Dutchman Manufacturing, a supplier of recreational vehicles, and

Sellers informed Mr. Young that the deal with Campers Inn had failed to close. (Opp’n to

Campers Inn’s Mot. to Amend Countercl. (“Opposition”), at 12, ECF 29, attached as Exhibit E.)

Camping World later contacted Sellers to communicate its interest in purchasing the two


                                                 3
properties that were the subjects of the deal with Campers Inn. (Id.) On August 3, 2020, Sellers

and Camping World formally entered negotiations and exchanged initial documents for that

purpose. (Id., at 13.) Those negotiations concluded on August 19, 2020, when Sellers and

Camping World entered into an asset purchase agreement, and the parties later closed the

transaction on October 9, 2020. (Id.)

       Camping World is a recreational vehicle (“RV”) business with more than 235 locations

nationwide. (See Camping World Career Portal, https://www.campingworldcareers.com/ (last

visited September 14, 2021).) The business employs nearly 7,000 people in more than 100 cities

coast-to-coast. (See U.S. Chamber of Commerce, Marcus Lemonis,

https://www.uschamber.com/marcus-lemonis (last visited September 14, 2021).) As Chairman

and CEO, Mr. Lemonis is tasked with keeping the multibillion dollar company on track and

growing it responsibly. Since 2018, Mr. Moody has served as the company’s President, having

previously served as Chief Operating and Legal Officer and in a variety of other roles. (See

Business Wire, Camping World Holdings Announces Promotion of Brent Moody to President,

https://www.businesswire.com/news/home/20181001005270/en/Camping-World-Holdings-

Announces-Promotion-of-Brent-Moody-to-President (last visited September 14, 2021).) And

Mr. Erickson is a Divisional RV President who, among other things, shares the responsibility to

manage the company’s dealership group with Mr. Lemonis and three other Divisional Presidents.

(See Camping World, Camping World Holdings, Inc. Announces Executive Management

Realignment, https://investor.campingworld.com/press-releases/press-release-

details/2019/Camping-World-Holdings-Inc-Announces-Executive-Management-

Realignment/default.aspx (last visited, September 14, 2021).)




                                                4
       C.      The Litigation Between Sellers and Campers Inn

       Sellers filed the current action against Campers Inn (Donovan Realty, LLC et al. v.

Campers Inn Holding Corp. et al., E.D. Pa. No. 20-cv-03954), seeking the return of their deposit

and other damages from Campers Inn’s failure to close the transaction. (Opposition, at 13.)

Campers Inn responded twelve days later with an answer and counterclaims together with a

motion for expedited discovery and a motion for preliminary injunction, seeking to force Sellers

to immediately convey the properties to Campers Inn. (Id.) Sellers later filed a Motion for

Judgment on the Pleadings asserting that the facts of both parties’ pleadings establish that Sellers

are entitled to judgment as a matter of law. (See generally MJOP.) Sellers’ motion is pending

before the Court.

       D.      Campers Inn Tries Repeatedly to Drag Camping World into Litigation.

       On October 28, 2020, Campers Inn sought to amend its Counterclaims in what would be

its first attempt to sue Camping World over the failed transaction. (See generally Defs.’ Mot. to

Amend Countercl., ECF 26, attached as Exhibit F.) This Court denied Campers Inn’s request by

an Order dated April 6, 2021. (See Order Den. Mot. to Amend Countercl., ECF 34, attached as

Exhibit G.) Undeterred, Campers Inn filed a separate action in this Court against Camping

World on May 4, 2021, alleging tortious interference and seeking a declaratory judgment that (1)

Camping World took title to the properties with knowledge lis pendens indexed against them,

and (2) that Camping World is bound by the result of the action against Sellers to the same extent

as a party. (See Pls.’ Compl. ¶¶ 69-81, Campers Inn Holding Corporation, et al. v. FRHP

Lincolnshire, LLC, et al., Civil Action No. 2:21-cv-02056-PBT, ECF 1, attached as Exhibit H.)

Camping World moved to dismiss those claims for lack of subject matter jurisdiction because

complete diversity did not exist between Camping World and Campers Inn. (See generally

Defs.’ Mot. to Dismiss Pls.’ Compl., Civil Action No. 2:21-cv-02056-PBT, ECF 8, attached as


                                                 5
Exhibit I.) Two weeks later, Campers Inn voluntarily dismissed the action. (See generally

Notice of Voluntary Dismissal, Civil Action No. 2:21-cv-02056-PBT, ECF 11, attached as

Exhibit J.)

       Campers Inn then filed suit against Camping World in the Court of Common Pleas of

Philadelphia County and asserted claims nearly identical to those it tried to bring in the May 4,

2021, action before this Court. (See Pls.’ Compl., Campers Inn Holding Corporation, et al. v.

FRHP Lincolnshire, LLC, et al., Philadelphia CCP Case No. 210601138, attached as Exhibit K.)

Camping World filed Preliminary Objections seeking dismissal of Campers Inn’s complaint on

two grounds: (1) the claim for a declaratory judgment that Camping World is bound by the

action against Sellers is not ripe because this Court has not issued a final ruling, and (2) Campers

Inn failed to state a claim for tortious interference. (See Prelim. Objs. to Pls.’ Compl., Campers

Inn Holding Corporation, et al. v. FRHP Lincolnshire, LLC, et al., Philadelphia CCP Case No.

210601138, attached as Exhibit L.) Judge Tucker issued an order on September 8, 2021,

sustaining Camping World’s preliminary objections to the declaratory judgment claim and

overruling them as to the tortious interference claim. (See September 8, 2021 Order Regarding

Prelim. Objs., Campers Inn Holding Corporation, et al. v. FRHP Lincolnshire, LLC, et al.,

Philadelphia CCP Case No. 210601138, attached as Exhibit M.)

       E.      The Subpoenas Issued to Movants

       Campers Inn has now served subpoenas in this action upon three Camping World

executives—Marcus Lemonis (Chairman and CEO), Brent Moody (President) and Josh Erickson

(Divisional RV President)—to be deposed for one day each over a three-day period from

September 21-23, 2021. (See Subpoenas, attached as Exhibits A-C.) The subpoenas also

command the deponents to produce documents responsive to three broad categories:




                                                 6
         •     Req. No. 1: “All documents or communications between You and [Sellers] reflecting,
               referring or relating in any way to Camping World’s acquisition of the Properties”;
         •     Req. No. 2: “All documents or communications between You and [Sellers] reflecting,
               referring or relating in any way to the ongoing litigation between Campers Inn and
               [Sellers] in United States District Court for the Eastern District of Pennsylvania,
               Donovan Realty, LLC et al. v. Campers Inn Holding Corp. et al., E.D. Pa. No. 20-cv-
               03954”; and
         •     Req. No. 3: “All documents or communications between You and [Sellers] reflecting,
               referring or relating in any way to the ongoing dispute between Campers Inn and
               [Sellers], including, but not limited to, the potential risk or liability related to
               Camping World’s acquisition of the Properties or the [Sellers’] obligation to
               indemnify Camping World for any lost [sic] associated with Camping World’s
               acquisition of the Properties.”

(Id., at 6.)

III.     GOVERNING STANDARDS

         Subpoenas issued under Federal Rule of Civil Procedure 45 must “fall within the proper

scope of discovery” permitted under Rule 26(b)(1). Garden City Employees’ Ret. Sys. v.

Psychiatric Sols., Inc., 2014 WL 272088, at *4 (E.D. Pa. Jan. 24, 2014) (Sanchez, J.) (internal

citations and quotation marks omitted). Rule 26(b)(1) provides that parties may obtain discovery

related to non-privileged matters that are both relevant and proportional to the needs of the case.

Fed. R. Civ. P. 26(b)(1). But the “scope of discovery while broad, is not limitless.” Kelley v.

Enhanced Recovery Co., LLC, 2016 WL 8673055, at *2 (D.N.J. Oct. 7, 2016). To maintain

appropriate limits, Rule 26(b)(2)(C) “requires courts to limit discovery where ‘the discovery

sought is unreasonably cumulative or duplicative, or can be obtained from some other source that

is more convenient, less burdensome, or less expensive’ and where ‘the burden or expense of the

proposed discovery outweighs its likely benefit . . . .’” Id. (quoting Fed. R. Civ. P. 26(b)(2)(C)).

         Relatedly, Rule 45 requires that courts “quash or modify a subpoena that . . . subjects a

person to undue burden.” Id. (quoting Fed. R. Civ. P. 45(d)(3)(A)(iv)). Courts look to several

factors in assessing whether to quash a subpoena because it presents an undue burden: “(1)

relevance of the requested materials, (2) the party’s need for the documents, (3) the breadth of


                                                   7
the request, (4) the time period covered by the request, (5) the particularity with which the

documents are described, (6) the burden imposed, and (7) the recipient’s status as a non-party.”

Frank v. Honeywell Int’l Inc., 2015 WL 4770965, at *4 (E.D. Pa. Aug. 13, 2015). Nonparties to

an action receive “greater protection from discovery than a normal party.” Kelley, 2016 WL

8673055, at *2. Accordingly, discovery sought from a non-party “is unduly burdensome where

the information sought has already been, or can be obtained from other means.” Kelley, 2016

WL 8673055, at *2 (internal citations and quotation marks omitted).

IV.    ARGUMENT

       As explained more fully below, this Court should quash the subpoenas directed to

Movants for two reasons. First, the subpoena directed to Mr. Lemonis is impermissible under

the “apex doctrine” that protects high-ranking corporate officials from being unduly burdened

and harassed through the discovery process. Second, all the subpoenas directed to Movants are

unduly burdensome because they seek information not relevant or proportional to the needs of

the case, are overbroad in scope, seek privileged communications, and represent an end-run

around the pending litigation in the Court of Common Pleas. Alternatively, the Court should

issue a protective order limiting the scope of the subpoenas to documents concerning Campers

Inn or the failed transaction between Plaintiffs and Campers Inn.

       A.      This Court Should Quash the Subpoena to Mr. Lemonis Under the “Apex
               Doctrine.”

       In a move calculated to harass, Campers Inn directed one of the subpoenas to Camping

World’s Chairman and CEO, who has no personal knowledge of the reasons that Plaintiffs’

transaction with Campers Inn failed. Indeed, Campers Inn issued this subpoena prior to




                                                 8
obtaining testimony from party witnesses, or from other employees of Camping World. 1 Such a

subpoena should be quashed under the apex doctrine.

          A federal court’s power to manage the discovery process includes “the discretion to

prevent oppressive, harassing, inconvenient, and burdensome depositions of executive officials.”

Reif v. CNA, 248 F.R.D. 448, 453 (E.D. Pa. 2008) (Sanchez, J.) (citing Fed. R. Civ. P.

26(b)(2)(C)). The exercise of that discretion has come to be known as the “apex doctrine,” and it

provides courts with a framework to prohibit the depositions of certain high-level executives

when the executive lacks the requisite knowledge of the facts. See id. at 451-53 (surveying

cases).

          Courts in the Third Circuit apply a two-part test to determine whether the deposition of a

high-level executive is warranted: (1) “whether the high-level official has personal or superior

unique knowledge of the facts alleged” and (2) “whether the information could be obtained from

lower-level employees or through less burdensome means.” United States ex rel. Galmines v.

Novartis Pharms. Corp., 2015 WL 4973626, at *1 (E.D. Pa. Aug. 20, 2015). Recognizing the

potential for parties to use depositions to harass high-level executives, the apex doctrine

“appl[ies] a rebuttable presumption that a high-level official’s deposition represents a significant

burden upon the deponent and that this burden is undue absent the two factors set forth in the

apex doctrine[.]” Id. at *2

          Defendants’ subpoena to Mr. Lemonis fails to satisfy either prong of the apex doctrine as

applied in the Third Circuit. To begin with, Mr. Lemonis has no unique and superior personal

knowledge of the matters at issue in this litigation. Courts evaluating similar cases under the



1
 Camping World understands that depositions of party witnesses have not yet occurred and that no scheduling order
has been entered in this litigation.



                                                       9
apex doctrine have barred depositions of high-level executives like Mr. Lemonis who lack the

requisite level of knowledge, even when they participated in the events at issue. See George v.

Penn. Tpk. Comm’n, 2020 WL 2745724, at *3 (M.D. Pa. May 27, 2020) (denying motion to

compel deposition of apex witness despite fact that the apex witness participated in events at

issue, because “it cannot be said that he possessed superior, or unique knowledge of these

events”).

        In George, the plaintiff in a discrimination case against the Pennsylvania Turnpike

Commission moved to compel the deposition of the Commission’s CEO because the CEO

consulted with the supervisor that terminated him and later participated in the decision to fire the

plaintiff. George, 2020 WL 2745724, at *3. The court denied the motion 2, finding that (1) the

CEO’s involvement did not suggest he had superior or unique knowledge of the termination

events; and (2) the direct supervisor who fired the plaintiff and the Turnpike Commission’s HR

staff both had superior knowledge to the CEO about the details of the termination. Id.

        Mr. Lemonis personal knowledge of relevant events and participation in the matters at

issue is even more remote than the CEO whose subpoena the court quashed in George. Mr.

Lemonis was not involved in the failed transaction between Plaintiffs and Campers Inn and has

no knowledge of why Campers Inn failed to close that transaction. Moreover, given the breadth

of Mr. Lemonis’s responsibilities as Chairman and CEO of Camping World, to the extent he had

any involvement in Camping World’s subsequent deal with Sellers, that involvement was limited

and unrelated to any details that could be relevant to Campers Inn’s claims in this case. As such,

he lacks the requisite level of knowledge to justify an apex deposition.


2
 The court in George denied the request to conduct the apex deposition as untimely, but it still determined that,
besides being untimely, the deposition request “fail[ed] on its merits” under the apex doctrine. George, 2020 WL
2745724, at *3.



                                                        10
       Notably, in serving the subpoena upon Mr. Lemonis, Campers Inn articulated no basis for

why his deposition is necessary to obtain testimony concerning the witness’s unique or superior

knowledge. Campers Inn has not deposed party witnesses and has not deposed any other

Camping World witnesses. Although Campers Inn previously subpoenaed—and received— any

relevant documents related to Camping World’s initial involvement in the transaction with

Sellers, it has not examined a single witness concerning those documents. Under those

circumstances, Campers Inn cannot possibly establish that Mr. Lemonis has unique or superior

personal knowledge of events relevant to the performance of the agreement between Camping

World and Sellers. As a result, Campers Inn’s subpoena does not satisfy the first prong of the

apex doctrine. See George, 2020 WL 2745724, at *3.

       The subpoena also does not satisfy the second prong of the apex doctrine. As described

above, no other depositions—neither of the parties, nor of third parties—have taken place in this

matter. Thus, not only are the subpoenas Campers Inn’s first subpoenas seeking deposition

testimony from Camping World employees, they also represent Campers Inn’s first effort to seek

testimony from anyone in this litigation. In addition, the subpoenas were issued to Lemonis,

Moody, and Erickson simultaneously. Campers Inn therefore cannot be seeking testimony from

Mr. Lemonis because it could not obtain information from lower-level employees or through the

testimony of actual parties to this litigation. The subpoena thus fails the second prong of the

apex doctrine because Campers Inn is unable to show that whatever information it seeks from

Mr. Lemonis cannot “be obtained in a less burdensome way, such as through lower-level

employees or other discovery methods.” George, 2020 WL 2745724, at *3.

       For these reasons, the Court should quash the subpoena directed to Mr. Lemonis. In the

alternative, the Court should quash the subpoena to Mr. Lemonis temporarily until Campers Inn




                                                11
deposes party witnesses, lower-level employees of Camping World, and a corporate

representative of Camping World, and it should also require Campers Inn to show that Mr.

Lemonis’s deposition remains necessary after exhausting those options. See Galmines, 2015 WL

4973626, at *3 (granting motion to quash subpoena to CEO without prejudice but conditioning

reconsideration on plaintiff’s efforts to obtain evidence supporting the need for the CEO’s

deposition through less burdensome means); Reif, 248 F.R.D. at 454 (E.D. Pa. 2008) (same).

       B.      This Court Should Quash All Three Subpoenas as Unduly Burdensome to
               the Deponents.

       All three of the subpoenas at issue should be quashed as harassing and unduly

burdensome because they seek testimony and documents not relevant to the claims here, call for

the production of documents from a third party that could be obtained from the parties to this

dispute, and because the document requests are broad, vague, and duplicative. The Court should

also quash the subpoenas because Campers Inn is using them as an improper means to conduct

discovery against Camping World in this case for use in the state court action.

       Rule 45 requires a court to quash a subpoena that “subjects a person to undue burden.”

Kelley, 2016 WL 8673055, at *2. (quoting Fed. R. Civ. P. 45(d)(3)(A)(iv)). Courts examine

several factors to determine whether a subpoena imposes such a burden: “(1) relevance of the

requested materials, (2) the party’s need for the documents, (3) the breadth of the request, (4) the

time period covered by the request, (5) the particularity with which the documents are described,

(6) the burden imposed, and (7) the recipient's status as a non-party.” Frank, 2015 WL 4770965,

at *4 (E.D. Pa. Aug. 13, 2015). Under the federal rules, nonparties are entitled to “greater

protection from discovery than a normal party.” Kelley, 2016 WL 8673055, at *2. Movants are

nonparties to the litigation and therefore entitled to heightened protection.




                                                 12
         The subpoenas here impose an undue burden in four ways. First, the subpoenas seek

documents and testimony that are not relevant to Campers Inn’s defenses or counterclaims in this

litigation, and which Campers Inn therefore does not need. Under similar circumstances, courts

have quashed subpoenas that seek deposition testimony and assert expansive document requests

relating to a non-party’s activities absent a “strong[] showing that [the non-party] has evidence

necessary to prove [the issuing party’s] claims.” Lady Liberty Transp. Co. v. Philadelphia

Parking Auth., 2007 WL 707372, at *9–10 (E.D. Pa. Mar. 1, 2007). In Lady Liberty, plaintiffs

challenged certain regulations imposed on transportation services and issued a subpoena for

testimony and expansive document requests to Representative John Perzel and his Chief of Staff,

seeking evidence that Perzel conspired with the regulator to harm the plaintiffs. Id. at *9. The

court pointed to several deficiencies in the subpoenas when it quashed them as unduly

burdensome 3: (1) the alleged conspiracy was not probative of the plaintiff’s claims, and

therefore not relevant; (2) the “dubious probative value” of the evidence sought did not support a

“convincing need for the evidence”; and (3) absent a compelling need, the court was reluctant to

force Representative Perzel and his staff to divert time from matters of importance requiring their

attention.

         As in Lady Liberty, Campers Inn cannot point to any compelling need that would justify

their document requests or related testimony. Campers Inn first requests all documents related in

any way to the transaction between Plaintiffs and Camping World. But Camping World has

already produced to Campers Inn documents reflecting its initial interactions with Plaintiffs in




3
  Although Representative Perzel and his Chief of Staff asked the court to quash the subpoenas on the grounds of
legislative privilege, the court concluded it need not reach that issue because the subpoenas subjected Representative
Perzel and his chief of staff to an undue burden, and the court quashed them on that basis instead. Lady Liberty,
2007 WL 707372, at *9.



                                                         13
response to the prior document subpoena. Any additional communications concerning

negotiations between Camping World and Plaintiffs have no bearing on the question of why

Campers Inn failed to close its transaction with Plaintiffs or whether the parties to this action

complied with their obligations under the contract between them. 4

         Next, Campers Inn seeks documents about this litigation. Logically, such documents

cannot have any probative value concerning the question of the failed transaction between

Plaintiffs and Campers Inn, because the litigation did not begin until after the transaction failed.

Instead, Campers Inn again seeks to dramatically expand the scope of this case by pursuing

discovery about the litigation itself, which constitutes an improper attempt to seek privileged

documents as explained infra in Section IV.C.

         Finally, Campers Inn seeks documents concerning the “ongoing dispute” between

Plaintiffs and Campers Inn, including documents concerning “potential risk or liability” and any

obligation of Plaintiffs to indemnify Camping World. Again, the question of whether Plaintiffs

are obligated to indemnify Camping World has no bearing on the facts and circumstances related

to the failure of the transaction between Plaintiffs and Campers Inn. 5 Thus, this Court should

find that Camping World is not entitled to the discovery it seeks because no nexus exists between

the documents or testimony sought and the claims and defenses between the parties in this

litigation.




4
  Reinforcing this conclusion is the fact that this Court considered and rejected Campers Inn’s attempts to bring
Camping World into this lawsuit through an amendment to its counterclaims. (See ECF 34, Exhibit F.) In doing so,
the Court correctly determined that Camping World did not engage in conduct relevant to any purported breach by
Sellers—the very existence of which the Court’s Order also undermines.
5
 In addition, as described infra in Section IV.C, this request plainly calls for document subject to the work product
and common interest doctrines.



                                                         14
       Second, the scope of the document requests contained in the subpoenas is overly broad,

the documents are not described with particularity, and there is no appropriate limit to a

responsive time period. Campers Inn seeks three vague and expansive categories of documents,

as described above. (See Exhibits A-C at 6.) In Lady Liberty, the plaintiffs’ subpoenas similarly

requested from a third party “[a]ll documents relating to the interaction with witness directly or

indirectly regarding limousine and/or transfer vehicles and Philadelphia Parking Authlrity [sic]

in whole or in part.” Lady Liberty, 2007 WL 707372, at *9 (internal citation and quotation

marks omitted). In view of the plaintiffs’ claims and their failure to make an adequate showing

of relevance, the court found a request seeking documents “having anything to do ‘directly or

indirectly’ with airport-transfer services” imposed an undue burden because it was too broad. Id.

       Camping World’s subpoenas likewise request documents having anything to do with

Camping World’s acquisition of the properties, the current litigation, or Camping World’s

assessment of the risks and liability of the transaction with Sellers. The document requests are

so broad in scope that they encompass documents having nothing to do with the claims or

defenses in this litigation, and they do not describe the documents sought by the subpoenas with

any particularity. Further, the requests are duplicative because the second and third requests deal

with this litigation and the “ongoing dispute” between the Plaintiffs and Campers Inn, which

now are essentially one and the same.

       The subpoena also makes no attempt to limit the document requests to a relevant period,

requesting instead that Movants produce “all documents and communications” concerning a

series of broad subjects. Given the limited relevance of Camping World’s involvement to the

question of the parties’ performance under their agreement, the requests should be limited to the

period immediately before and including Campers Inn’s failure to close. But Camping World’s




                                                15
limited involvement in the events of that period makes it likely that Campers Inn can obtain (and

likely has obtained) all relevant documents through the exchange of party discovery with Sellers,

further bolstering the notion that Campers Inn does not need to obtain the same documents from

Movants.

       Third, the subpoenas seek information that could more easily be obtained from the parties

to this litigation rather than from the non-party Movants. Each of the document requests seeks

documents and communications “between” Camping World and Plaintiffs. (See Exhibits. A-C,

at 6.) Campers Inn could obtain such documents communications from Plaintiffs—who are

parties to this litigation—but instead seek to burden Movants with their production, despite

having already received a document production from Camping World in response to the prior

subpoena.

       Fourth, and finally, Campers Inn’s implicit purpose for serving these subpoenas is to

obtain discovery to use against Camping World in the pending state court matter and circumvent

the discovery process there. This Court should reject that attempt for several reasons. To begin

with, the state court only just ruled on Camping World’s preliminary objections, and the parties

have not yet engaged in written discovery or depositions in that action. Campers Inn is therefore

using the discovery process in this Court to obtain documents and testimony for use against

Camping World if the state court action moves forward. Through the subpoenas, Campers Inn

seeks a free opportunity to depose Camping World witnesses about the matter pending in state

court when discovery in that case has not yet begun. Campers Inn’s efforts here are an abuse of

this Court’s discovery process, and Campers Inn should not be permitted to pursue claims

against Camping World in a different venue where Camping World lacks the means to obtain

reciprocal discovery. Thus, the Court should quash the subpoenas directed to Camping World’s




                                               16
witnesses and allow discovery to take place in the state court action concerning Campers Inn’s

surviving claim.

       In sum, the subpoenas issued to Movants places impose a burden that outweighs any

benefit that Campers Inn may derive from them, and the Court should therefore quash the

subpoenas as unduly burdensome. See Kelley, 2016 WL 8673055, at *2; Galmines, 2015 WL

4973626, at *3 (granting motion to quash because “the burden or expense of the proposed

discovery outweigh[ed] its likely benefits”).

       C.      The Subpoenas Should be Quashed Because they Improperly Seek Privileged
               Documents

       The subpoenas should also be quashed—or modified—to the extent that they seek

documents subject to the common interest doctrine and the work product doctrine. The common

interest doctrine enables parties with a common legal interest and who are involved in similar or

related legal proceedings to share privileged communications and attorney work product so they

can prepare an adequate defense without waiving either privilege. See Serrano v. Chesapeake

Appalachia, LLC, 298 F.R.D. 271, 283 (W.D. Pa. 2014). In addition, the work product doctrine

protects from disclosure documents prepared in anticipation of litigation or for use in litigation,

even where such information is shared with a third party, so long as the manner of sharing the

information does not significantly increase the likelihood that an adversary will obtain the work

product information. See Fed. R. Civ. P. 26(b)(3); Bousamra v. Excela Health, 210 A.3d 967,

978 (Pa. 2019).

       A subpoena that demands the production of documents or information that is protected

from discovery by a privilege should be quashed or modified to the extent it seeks privileged

information. See Nedler v. Vaisberg, 2006 WL 2460892, at *5 (E.D. Pa. Aug. 22, 2006)

(quashing subpoena seeking privileged communications); Nupson v. Schnader Harrison Segal &



                                                 17
Lewis LLP, 2021 WL 1293557, at *13 (E.D. Pa. Apr. 7, 2021) (denying discovery of privileged

information). Here, the subpoenas demand the production of documents relating in any way to

this litigation or to the “ongoing dispute” between Plaintiffs and Campers Inn. (See Exhibits A-

C, at 6.) Both Camping World and Plaintiffs have a common interest in defending against

Campers Inn’s claims—indeed, Campers Inn sought an order in the state court action binding

Camping World to the results of this action to the same degree as if it was a party to this

litigation.

        The Court should therefore quash the subpoenas because they seek information protected

by the common interest doctrine and the work product doctrine and, thus, shielded from

discovery.

        D.     Alternatively, the Court Should Grant a Protective Order That Limits the
               Scope of Discovery.

        In the alternative, the Court should enter a protective order limiting the scope of

discovery to communications between Camping World and Sellers about Campers Inn or the

transaction between Sellers and Campers Inn. Federal courts have discretion “to issue protective

orders that impose restrictions on the extent and manner of discovery where necessary ‘to protect

a party or person from annoyance, embarrassment, oppression, or undue burden or expense.’”

Pearson v. Miller, 211 F.3d 57, 65 (3d Cir. 2000) (quoting Fed. R. Civ. P. 26(c)). Protective

orders are warranted “when the party seeking the protective order ‘show[s] good cause by

demonstrating a particular need for protection.’” Nothstein v. USA Cycling, 337 F.R.D. 375, 393

(E.D. Pa. 2020) (quoting Cipollone v. Liggett Grp., Inc., 785 F.2d 1108, 1121 (3d Cir. 1986)).

Good cause exists when the party seeking the order demonstrates that an injury will result in the

absence of an order, and that injury needs only to be one of the grounds for an order set forth in

Rule 26. See id.



                                                 18
       The federal rules also offer movants two ways to protect the disclosure of sensitive

information. Pearson, 211 F.3d at 65. The movant may assert either that an evidentiary

privilege shields the information from disclosure under Rule 26(b)(1), or that discovery should

still be limited to protect the disclosure of private or confidential information under Rule 26(c).

Id. Movants object to the subpoenas here on three grounds that warrant a protective order.

       First, Movants object to the subpoenas to the extent they impose an undue burden for the

reasons explained in Section IV.B, supra. In addition to providing the Court a basis to quash the

subpoenas, the undue burden of the subpoenas is also an appropriate basis for the Court to grant

a protective order under Rule 26(c). See Nothstein, 337 F.R.D. at 393.

       Movants further object to the subpoenas to the extent that they seek the production of

documents that are protected by the common interest doctrine or the work product doctrine and

therefore excluded from discovery. As described in greater detail above, communications

between Camping World and Plaintiffs may be protected by both doctrines. See Serrano, 298

F.R.D. at 283; Bousamra, 210 A.3d at 978. A protective order is therefore appropriate under

Rule 26(b)(1) to prevent Campers Inn from using its subpoenas to discover any such

communications between Sellers and Camping World.

       Finally, movants object to the subpoenas to the extent that they reach any of Camping

World’s confidential business information. Under the federal rules, courts may enter an order

“requiring that a trade secret or other confidential research, development, or commercial

information not be revealed or be revealed only in a specified way.” In re Mushroom Direct

Purchaser Antitrust Litig., 2012 WL 298480, at *5 (E.D. Pa. Jan. 31, 2012) (quoting Fed. R. Civ.

P. 26(c)(1)(7), now codified as Fed. R. Civ. P. 26(c)(1)(G)). The scope of the requests reach

confidential business documents exchanged between Sellers and Camping World as part of their




                                                 19
transaction, and a protective order is appropriate to prevent the disclosure of those documents to

a competitor like Camper’s Inn because the disclosure would injure Camping World.

       Accordingly, Campers Inn’s document requests should be limited to communications

about the deal between Campers Inn and Sellers and Campers Inn’s allegations about the breach

of confidential information. The terms of the deal between Camping World and Sellers and any

confidential information related to that deal are irrelevant to Campers Inn’s claims and should

not be disclosed to Campers Inn as a competitor within the same industry. If the Court declines

to quash the subpoenas directed to Movants, it should craft a protective order instead that

prevents Campers Inn from obtaining irrelevant, privileged, and confidential information related

to the deal between Camping World and Sellers.

V.     RELIEF

       Given the small universe of relevant documents likely to be in Camping World’s

possession, Campers Inn’s three subpoenas represent a fishing expedition for irrelevant evidence

and are therefore unduly burdensome. On that basis, Camping World respectfully requests that

the Court quash all three subpoenas in their entirety. But even if the Court is inclined to allow

Campers Inn to take deposition testimony or obtain documents, it should restrict Campers Inn to

a 30(b)(6) deposition of Camping World limited to an appropriate set of relevant topics and issue

an appropriate protective order to prevent disclosure of privileged and confidential documents.




                                                20
                            DUANE MORRIS LLP


                            /s/ James H. Steigerwald
                            James H. Steigerwald (82469)
                            Simeon S. Poles (324895)
                            30 South 17th Street
                            Philadelphia, PA 19103-4196
                            Telephone: +1 215 979 1000
                            Fax: +1 215 979 1020

                            Attorneys for Movants

Dated: September 15, 2021




                              21
                                 CERTIFICATE OF SERVICE


       I, James H. Steigerwald, hereby certify that on September 15, 2021, I caused a true and

correct copy of the foregoing Movants’ Memorandum of Law In Support of Motion by

Nonparties to Quash Defendants’ Subpoenas or, in the Alternative, for a Protective Order to be

served on counsel for all parties via this Court’s electronic filing system.


                                                      /s/ James H. Steigerwald
                                                      James H. Steigerwald




                                                 22
                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                                     :
DONOVAN REALTY, LLC, DD&A TILDEN                     :
REALTY, LLC, ZERTECK, INC., TILDEN                   :
RECREATIONAL VEHICLES, INC., and                     :
DERWOOD LITTLEFIELD,                                 :
                                                     :
                      Plaintiffs-Counterclaim        :
                      Defendants,                    :
                                                     :
                                                       CIVIL ACTION NO.
               v.                                    :
                                                       20-CV-03954-PBT
                                                     :
CAMPERS INN HOLDING CORPORATION, CI                  :
OF HAMBURG, LLC, and CI OF WEST                      :
COXSACKIE, LLC,                                      :
                                                     :
                                                     :
                      Defendants-Counterclaim        :
                      Plaintiffs.


                                   [PROPOSED] ORDER


       AND NOW, this _________ day of ___________, 2021, upon consideration of the

motion of Movants Marcus Lemonis, Brent Moody, and Josh Erickson to quash the nonparty

subpoenas duces tecum issued to them by Defendants Campers Inn Holding Corporation, CI of

Hamburg, LLC, and CI of West Coxsackie, LLC, or, in the alternative, for a protective order, IT

IS HEREBY ORDERED that the motion is GRANTED and the subpoenas issued to Movants

are quashed.


                                                     Hon. Petrese B. Tucker, U.S.D.J.




                                                23
